                   Case 16-19222-LMI      Doc 510     Filed 03/18/19     Page 1 of 2




      ORDERED in the Southern District of Florida on March 16, 2019.




                                                 Laurel M. Isicoff
                                                 Chief United States Bankruptcy Judge




_____________________________________________________________________________
                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      Miami-Dade Division
                                     www.flsb.uscourts.gov
      In Re:

      JOHN FINTON,                                           Case No.: 16-19222-LMI

           Debtor.                                           Chapter 11
      __________________/

                  ORDER SUSTAINING IN PART AND OVERRULING IN PART
                      DEBTOR’S OBJECTION TO CLAIMS [DE#456]

           THIS MATTER having come before the Court in chambers upon the Debtor’s

      Objection to Claims [DE#456] and the objector by submitting this form order having

      represented that the objection was served on the parties listed below, that the 30-day

      response time provided by Local Rule 3007-1(D) has expired, that no one listed below,

      with the exception of Calvary/CapitalOne, has filed, or served on the objector, a response

      to the objection, and that the relief to be granted in this order is the identical relief

      requested in the objection, and this court having considered the basis for the objection to

      the claim and for the reasons recited on the record, and the Court being otherwise fully

      advised in the premises does hereby:
                Case 16-19222-LMI       Doc 510       Filed 03/18/19   Page 2 of 2



       ORDER AND ADJUDGE as follows:

         1.     The      Debtor’s   Objection    to   Cavalry.CapitalOne,    Claim   #16-1   is

 OVERRULED. Cavalry/CapitalOne’s Claim 16-1 is deemed allowed and holds a general

 unsecured claim in the amount of $22,384.97.

         2.     The Debtor’s objections to the following claims are SUSTAINED:

  Claim       Name of Claimant       Amount of         Disposition
  No.                                Claim
  17-1        CIT Bank               $ 648,271.47      SUSTAINED and Claim is disallowed
                                                       in full;
  18-1        McGonigle              $ 35,650.41       SUSTAINED and Claim is disallowed
                                                       in full;
  20-1        Starboard              $7,800,000        SUSTAINED and Claim is to be paid
                                                       solely in accordance with the
                                                       settlement agreement    previously
                                                       approved.

         3.     Claim 19-1 by the California Franchise Tax Board remains disputed and

 contested and a hearing upon the same is requested.



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Submitted By:
David Lloyd Merrill, Esq.

David Lloyd Merrill, Esq. is directed to serve a copy of the signed order on all appropriate
parties and file with the court a certificate of service conforming with Local Rule 2002-1(F).
